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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

 

FEDERAL TRADE COMMISSION,
Plaintiff,
v.
Case No. 8:09-cv-547-T23-TBM
HOME ASSURE, LLC, et al.

Defendants.

 

 

JOINT MOTION TO RE-OPEN THIS ACTION,
SET ASIDE THE CLERK?S ENTRY OF DEFAULT AGAINST
DEFENDANT HOME ASSURE, LLC, AND TO ENTER THE
PROPOSED STIPULATED FINAL JUDGMENT AND ORDER FOR
PERMANENT INJUNCTION AGAINST DEFENDANT HOME ASSURE, LLC
Plaintiff Federal Trade Commission (“FTC”) and Defendant Home Assure, LLC
(“Home Assure”), by and through their attorneys file this Joint Motion to Re-Open this
Action, Set Aside the Clerk’s Entry of Default Against Defendant Home Assure, and to
Enter the Proposed Stipulated Final Judgment and Order for Permanent Injunction as to
Defendant Home Assure. As grounds for this motion, the parties state:
1. On May 10, 2010, this Court entered an Order staying this action pending
the Commission’s approval of a settlement in this case. (Dkt. No. 269.) The Order

administratively closed the case, and provided that “No later than ninety (90) days after

the date of this order, a party may move to re-open this action.” (id.}

 
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2. In accordance with the Court’s order, the parties move to re-open the this
action in order for the Court set aside the Clerk’s entry of default and to enter the
attached proposed stipulated Final Judgment and Order for Permanent Injunction as to
Defendant Home Assure. Simultaneously with the filing of motion, HomerBonner will
enter an Appearance for Defendant Home Assure.

3. Pursuant to Federal Rule of Civil Procedure 55(c), the parties move this
Court to set aside the Clerk’s Entry of Default against Home Assure entered May 20,
2009. [Dkt. #93]. Vacating a default requires a showing of “good cause.” See Fed. R.
Civ. P. 55(c). “Good cause is a mutable standard, varying from situation to situation. It is
also a liberal one... .” Compania Interamericana Export-Import v. Compania
Domincana de Aviacion, 88 F.3d 948, 951 (11th Cir. 1996). Relevant factors include
whether vacating the default would prejudice the plaintiff, whether the defendant
presents a meritorious defense, whether the default was willful, and whether the
defendant acted promptly to correct the default. See Jd. Courts disfavor default “because
of the strong policy of determining cases on their merits.” Florida Physicians Insurance
Co. v. Ehlers, 8 F.3d 780, 783 (11th Cir. 1993). The parties in this matter have jointly
requested the Default be set aside, and have stipulated to a permanent injunction against
Home Assure. Thus good cause exists to set aside the entry of default.

4. Upon entry of the requested relief herein, the FTC will file a renewed
motion for default judgment against B Home Associates, LLC, doing business as Expert
Foreclosure, and a stipulation of voluntary dismissal with prejudice as to the remaining

individual defendants.

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Respectfully Submitted,

FOR THE FEDERAL TRADE COMMISSION

/s Ann F. Weintraub DATED: July 27, 2010
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FOR DEFENDANT HOME ASSURE, LLC

/s Howard 8. Goldfarb DATED: July 27, 2010
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing Joint Motion to
Re-open this Action, Set Aside the Clerk's Entry of Default Against Defendant Home Assure,
Lic, and to Enter the Proposed Stipulated Final Judgment and Order for Permanent Injunction
Against Defendant Home Assure, LLC was served via ECF on the 27th day of July, 2010 upon
counsel:

Peter W. Homer, Esquire
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s/Ann F. Weintraub
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